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                           UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,              )                NO. 1: 06 CR 0419 LJO
                                       )
             Plaintiff,                )                ORDER OF DETENTION FOLLOWING
                                       )                REVOCATION OF PREVIOUSLY SET
          V.                           )                CONDITIONS OF RELEASE
                                       )
SANDRO JIMINEZ                         )
                                       )
             Defendant                 )
______________________________________ )

      A. Order for Revocation And Detention
             After conducting a hearing pursuant to 18 U.S.C. § 3148(h) on the government’s motion
      for revocation of the previous order for release, the Court orders the previous conditions of
      pretrial release revoked and this defendant detained.
      B. Statement of Reasons For The Revocation And Detention
             The Court orders the revocation of pretrial release conditions and the defendant’s
      detention because it finds:
             __X__ (1) There is probable cause to believe this defendant has committed a Federal,
                     State or local crime while on release, to wit : possession and use of cocaine.
                     or
             __X__ (2)     There is clear and convincing evidence that this defendant has violated a
                     condition or conditions of release, to wit: he used cocaine.
                     and
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            __X__ (3) That based on the factors set forth in Section 3142(g), there is no condition or
                   combination of conditions of release that will assure that this defendant will not
                   flee or pose a danger to the safety of any other person or the community; or


            _____ (4) That this defendant is unlikely to abide by any condition or combination of
                   conditions of release.


            _____ (5) That this defendant has not rebutted the rebuttable presumption contained in
                   18 U.S.C. § 3148(b) that no condition or combination of conditions will assure
                   that the person will not pose a danger to the safety of any other person or the
                   community based upon the existence of probable cause to believe that, while on
                   release, the defendant committed a Federal, State or local felony, to wit:


         IT IS SO ORDERED.

          Dated:   May 10, 2007                        /s/ Dennis L. Beck
3b142a                                           UNITED STATES MAGISTRATE JUDGE
